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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRCT OF FLORIDA
                                   TAMPA DIVISION

 ROBERT CHEESMAN,

    Plaintiff,                                     CASE NO.:

 -VS-

 SUNTRUST BANK,

    Defendant.
                                      /

                  COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW Plaintiff, ROBERT CHEESMAN, by and through the undersigned

 counsel, and sues Defendant, SUNTRUST BANK, (hereinafter “Defendant”), and in

 support thereof respectfully alleges violations of the Telephone Consumer Protection Act,

 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act,

 Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                    INTRODUCTION

        1.       The TCPA was enacted to prevent companies like defendant from

 invading American citizen’s privacy and prevent abusive “robo-calls.”

        2.       “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

 S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

        3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 *1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

 dinner at night; they force the sick and elderly out of bed; they hound us until we want to


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 rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings

 presumably intended to give telephone subscribers another option: telling the autodialers

 to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

 2014).

          4.     According    to   the   Federal   Communications     Commission     (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC. There are thousands

 of complaints to the FCC every month on both telemarketing and robocalls. The FCC

 received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

 to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

 Phones,       Federal     Communications          Commission,      (May      27,     2015),

 http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

 333676A1.pdf.

                              JURISDICTION AND VENUE

          5.     This is an action for damages exceeding Seventy-Five Thousand Dollars

 ($75,000.00) exclusive of attorney fees and costs.

          6.     Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

          7.     Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of


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 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

        8.      The alleged violations described herein occurred in Pasco County, Florida.

 Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the

 judicial district in which a substantial part of the events or omissions giving rise to this

 action occurred.

                                   FACTUAL ALLEGATIONS

        9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

 the city of Land O’ Lakes, Pasco County, Florida

        10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

        11.     Plaintiff is an “alleged debtor.”

        12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

        13.     Defendant is a corporation and national association with its principal place

 of business located at 303 N.E. Peachtree Street, Atlanta Georgia 30308, and which

 regularly conducts business in the State of Florida through its registered agent,

 Corporation Service Company located at 1201 Hays Street, Tallahassee Florida 32301.

        14.     The debt that is the subject matter of this Complaint is a “consumer debt”

 as defined by Florida Statute §559.55(6).

        15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).




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        16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

 two-hundred fifty (250) times in an attempt to collect an alleged credit card debt.

        17.     Defendant attempted to collect an alleged debt from Plaintiff by this

 campaign of telephone calls.

        18.     Upon information and belief, some or all of the calls the Defendant made

 to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

 autodialer because of the vast number of calls he received and because he heard an

 extended pause when he answered his phone before a voice came on the line.

        19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number (352) ***-6930, and was the called party and recipient of Defendant’s calls.

        20.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

 cellular telephone (352) ***-6930 in an attempt to collect on a debt.

        21.     The auto-dialer calls from Defendant were initiated from phone numbers

 including but not limited to: (888) 893-1773, and when that number is dialed, an artificial

 voice answers and says, “Thank you for calling SunTrust Bank.”

        22.     On several occasions over the last year, Plaintiff instructed Defendant’s

 agent(s) to stop calling his cellular telephone.




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         23.     In or about May of 2018, Plaintiff answered a call from Defendant to his

 aforementioned cellular telephone number, met with an extended pause, held the line and

 was eventually connected to a live representative, and informed that agent/representative

 of Defendant that he already made a payment, that the calls were harassing and Plaintiff

 demanded Defendant’s agent/representative to stop calling his cellular telephone number.

         24.     During the aforementioned call with Defendant’s agent/representative in

 or about May of 2018, Plaintiff unequivocally revoked any express consent Defendant

 may have had for placement of telephone calls to Plaintiff’s aforementioned cellular

 telephone number by the use of an automatic telephone dialing system or a pre-recorded

 or artificial voice.

         25.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

 cellular telephone number was done so without the “express consent” of the Plaintiff.

         26.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

 cellular telephone number was knowing and willful.

         27.     Despite actual knowledge of their wrongdoing, the Defendant continued

 the campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express

 consent the Defendant may have had to call his aforementioned cellular telephone

 number.

         28.     Similarly, in or about June of 2018, Plaintiff answered a call from

 Defendant to his aforementioned cellular telephone number, met with an extended pause,

 held the line and was eventually connected to a live representative, and informed that

 agent/representative of Defendant that he was aware of when his payment was due, that



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 he had previously requested that Defendant stop calling him, and again demanded

 Defendant’s agent/representative to stop calling his cellular telephone number.

         29.     Defendant called Plaintiff on Plaintiff’s cellular telephone without his

 express consent approximately two hundred (200) times in an attempt to collect a debt (or

 as will be determined upon review of Plaintiff’s wireless records and/or Defendant’s

 records).

         30.     Defendant intentionally harassed and abused Plaintiff on numerous

 occasions by calling several times in the same hour, during one day, and on back to back

 days, including nights and weekends, with such frequency as can reasonably be expected

 to harass.

         31.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

 cellular telephone in this case.

         32.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

 this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

         33.     Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they wish for

 the calls to stop.

         34.     Defendant has numerous other federal lawsuits pending against it alleging

 similar violations as stated in this Complaint.




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         35.    Defendant has numerous complaints across the country against it asserting

 that its automatic telephone dialing system continues to call despite being requested to

 stop.

         36.    Defendant has had numerous complaints from consumers across the

 country against it asking to not be called; however, Defendant continues to call the

 consumers.

         37.    Defendant’s corporate policy provided no means for Plaintiff to have his

 number removed from Defendant’s call list.

         38.    Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

         39.    Not a single call placed by Defendant to Plaintiff were placed for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         40.     Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

         41.    From each and every call placed without consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

 upon his right of seclusion.

         42.    From each and every call without express consent placed by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of his cellular telephone

 line and cellular phone by unwelcome calls, making the phone unavailable for legitimate

 callers or outgoing calls while the phone was ringing from Defendant’s calls.




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        43.     From each and every call placed without express consent by Defendant

 to Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his

 time. For calls he answered, the time he spent on the call was unnecessary as he

 repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

 time to unlock the phone and deal with missed call notifications and call logs that

 reflected the unwanted calls. This also impaired the usefulness of these features of

 Plaintiff’s cellular phone, which are designed to inform the user of important missed

 communications.

        44.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.

 For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

 them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

 with missed call notifications and call logs that reflected the unwanted calls. This also

 impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed

 to inform the user of important missed communications.

        45.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

 phone’s battery power.

        46.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

 phone or network.




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         47.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his

 cellular phone and his cellular phone services.

         48.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

 nervousness, and aggravation.

                                           COUNT I
                                    (Violation of the TCPA)

         49.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-

 eight (48) as if fully set forth herein.

         50.     SUNTRUST BANK willfully violated the TCPA with respect to Plaintiff,

 especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

 Plaintiff notified SUNTRUST BANK that he wished for the calls to stop.

         51.     SUNTRUST BANK repeatedly placed non-emergency telephone calls to

 Plaintiff’s cellular telephone using an automatic telephone dialing system or prerecorded

 or artificial voice without Plaintiff’s prior express consent in violation of federal law,

 including 47 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against SUNTRUST BANK for statutory damages, punitive

 damages, actual damages, treble damages, enjoinder from further violations of these parts

 and any other such relief the court may deem just and proper.




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                                             COUNT II
                                     (Violation of the FCCPA)

           52.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-

   eight (48) as if fully set forth herein.

           53.     At all times relevant to this action SUNTRUST BANK is subject to and

   must abide by the laws of the State of Florida, including Florida Statute § 559.72.

           54.     SUNTRUST BANK has violated Florida Statute § 559.72(7) by willfully

   communicating with the debtor or any member of his or her family with such frequency

   as can reasonably be expected to harass the debtor or his or her family.

           55.     SUNTRUST BANK has violated Florida Statute § 559.72(7) by willfully

   engaging in other conduct which can reasonably be expected to abuse or harass the debtor

   or any member of his or her family.

           56.     SUNTRUST BANK’s actions have directly and proximately resulted in

   Plaintiff’s prior and continuous sustaining of damages as described by Florida Statute §

   559.77.

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against SUNTRUST BANK                for statutory damages, punitive

   damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

   of these parts and any other such relief the court may deem just and proper.




                                                 Respectfully submitted,




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                                      /s/ Shaughn C. Hill
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